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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK




 UNITED STATES OF AMERICA,                              Civ. Action No. 15-CV-0099(S)
 and STATE OF NEW YORK,
                                                        SECOND AMENDED COMPLAINT
 ex rel. JEAN NOLAN,                                    DEMAND FOR JURY TRIAL

                        Plaintiffs,

                v.

 POST ACUTE PARTNERS
 MANAGEMENT, LLC, 1818 COMO PARK
 BOULEVARD OPERATING CO., LLC, AND
 ELDERWOOD ADMINISTRATIVE
 SERVICES, LLC,

                       Defendants.




                             SECOND AMENDED COMPLAINT

       Relator Jean Nolan, by and through her counsel, files this Second Amended Complaint

against Defendants Post-Acute Partners Management, LLC (“PAPM”), 1818 Como Park

Boulevard Operating Co., LLC, and Elderwood Administrative Services, LLC (individually, or

collectively as “Defendants” or “Elderwood”), and alleges as follows:

                                        INTRODUCTION

       1.      This is an action for damages on behalf of Relator Jean Nolan for retaliation in

connection with her internal reporting of fraudulent conduct that gave rise to violations of the




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Federal False Claims Act, 31 U.S.C. §§ 3729 et seq., as amended (the “FCA”), and the New

York False Claims Act, N.Y. Fin. Law §§ 187-194 (the “NY FCA”).

       2.      On August 2, 2022, the Department of Justice announced a settlement of the

underlying FCA action brought by Relator Nolan, which included a $950,000 payment by

several affiliates of Defendant Elderwood scattered throughout New York State. As described in

the announcement:

       The Government alleges that between August 1, 2013, and December 31, 2018,
       Elderwood knowingly submitted, or caused to be submitted, false claims for payment to
       Medicare for physical therapy, occupational therapy, and speech therapy services that
       were medically unnecessary. The submission of these medically unnecessary claims
       resulted in Elderwood receiving artificially inflated payments from Medicaid.


       3.      Elderwood is a New York based skilled nursing and rehabilitation company with

ten locations throughout the state – Amherst, Cheektowaga, Grand Island, Hamburg, Hornell,

Lancaster, Liverpool, Waverly, Wheatfield, and Williamsville.

       4.      While working as a Licensed Practical Nurse (“LPN”) at 1818 Como Park

Boulevard Operating Co., LLC, referred to as Elderwood at Lancaster (“Lancaster”), relator Jean

Nolan (“Relator” or “Nolan”) personally observed numerous unlawful and fraudulent practices

implemented by Defendants to fraudulently maximize Medicare and Medicaid payments at the

physical expense of patients and at great cost to the Government.

       5.      Defendants in this action are healthcare providers which administer skilled

nursing, long term care, and rehabilitation services to patients covered by the federally and state

funded health insurance programs, Medicare, as well as Medicaid and TRICARE.

       6.      Nolan personally observed Defendants’ knowing, fraudulent practices regarding

the admission of patients into rehabilitation programs by leveraging relationships with hospitals




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to funnel patients to Elderwood facilities and admit patients who did not meet the criteria for

rehabilitation under CMS guidelines.

       7.      Upon admission, Defendants’ staff physicians regularly failed to properly assess

patients’ conditions and individualized needs and failed to prescribe an appropriate level of

treatment, as required by the government funded health care programs. Instead, in accordance

with Elderwood policy, all patients were admitted at the highest, and most expensive, level of

treatment initially with the expectation that they would be seen by a physical therapist within 24

hours. The physical therapists, rather than a physician, then prescribed the level of care for each

individual patient. Elderwood physicians routinely rubber stamped these evaluations and

prescriptions of care.

       8.      During the course of her employment at Lancaster, Relator personally observed

the regular manipulation of applicable Medicare and Medicaid requirements in order to inflate

billings to the Government through the submission of false claims. To do so, Defendants

regularly provided services for the “treatment” of patients that were not medically reasonable or

necessary. In most cases, Defendants indiscriminately shuffled patients between long term care

and rehabilitation programs in order to take advantage of higher rehabilitation rates, without

regard to particular patient’s needs or conditions.

       9.      Defendants also held patients with improved conditions for whom rehabilitation

was no longer medically necessary or reasonable, or a particular level of care was no longer

appropriate, in order to bill at higher rates for as long as possible, and billed for wholly

inadequate services that do not qualify for reimbursement under the government funded health

insurance programs.




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       8.      Finally, Nolan personally observed the provision of services that did not qualify

for reimbursement as “skilled” under Medicare and Medicaid guidelines, but were fraudulently

billed as skilled nursing services by Defendants anyway.

       9.      Throughout 2013 to present, Defendants routinely submitted false claims to

Medicare, Medicaid, and TRICARE for reimbursement of these non-existent or non-

reimbursable services performed at Elderwood. Further, Elderwood encouraged and directed its

staff to perpetuate the false claims by manipulating patient records and Relator observed this

practice at Lancaster which led her to believe this fraudulent conduct pervaded the entire

Elderwood system, and as it did at Lancaster, persisted unchecked throughout the course of her

employment. Indeed, Relator learned that similar conduct was being perpetrated at the other

Elderwood facilities, including Hamburg where patients are being moved into medically

unnecessary disciplines of treatment and kept for longer than medically necessary in order to

maximize revenue.

       10.     Beginning around October 2013, Nolan complained about violations to

supervisors at Lancaster and Elderwood’s corporate office. These complaints specifically

included, among other things, the deliberate falsification of medical records to avoid scrutiny

over Elderwood’s inflated rehabilitation services. As a result of her complaints and refusal to

engage in illegal practices, Elderwood retaliated against Nolan. First, she was treated with

hostility and threatened, but when she continued to speak up about the improper practices, her

position was changed in order to reduce her exposure to the violative conduct and thus her ability

to view and report the conduct. When she reported the improper conduct to upper management,

her supervisors created a pretext for her termination, and ultimately did in fact terminate her on

or about April 29, 2014.



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        11.     In sum, as a result of the retaliation on Ms. Nolan for internally reporting

improper conduct that amounted to violations of the FCA and the NYFCA and for refusing to

comply with instructions to cooperate in Defendants’ scheme to defraud the Government, Ms.

Nolan suffered harm. This Second Amended Complaint seeks damages in connection with that

harm under 31 U.S.C. § 3730(h) and N.Y. Fin. Law § 191.

                                             PARTIES

        12.     Defendant PAPM, headquartered in New York, is a privately held company that

owns and operates facilities that provide post-acute healthcare services, including skilled nursing

and inpatient rehabilitation, in New York, Rhode Island, Pennsylvania, and Massachusetts. In

2013, PAPM acquired nearly all of Elderwood’s facilities, and specifically the facilities named in

this complaint, for approximately $140 million. PAPM seeks to establish a complete continuum

of care for post-acute services, including by pursuing employee training and company culture

initiative for its subsidiary facilities.

        13.     Defendant Elderwood Administrative Services, LLC was acquired by PAPM in

2013. It is a health care management firm that has provided skilled nursing in New York since

1978. Elderwood owns and operates rehabilitation, skilled nursing, assisted living and

independent living communities in Western New York, with 17 facilities, including the facilities

named in this complaint, 2,800 beds and 4,000 employees. Elderwood has ten skilled nursing

and rehabilitation facilities, including Amherst, Cheektowaga, Grand Island, Hamburg, Hornell,

Lancaster, Liverpool, Waverly, Wheatfield, and Williamsville.

        14.     Defendant 1818 COMO PARK BOULEVARD OPERATING CO., LLC is a New

York Limited Liability Company located in Lancaster, NY.




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                                     JURISDICTION AND VENUE

        15.      This Court has jurisdiction over the subject matter of this False Claims Act action

pursuant to 28 U.S.C. § 1331 and 31 U.S.C. § 3732(a), which confers jurisdiction on this Court

for actions brought pursuant to 31 U.S.C. §§ 3729 and 3730. This Court has jurisdiction over the

subject matter of the NY FCA action pursuant to 28 U.S.C. § 1367 and 31 U.S.C. § 3732(b)

because the NY FCA action arises from the same transactions or occurrences as the FCA action.

        16.      This Court has personal jurisdiction over the defendants pursuant to 31 U.S.C. §

3732(a), which provides that “[a]ny action under section 3730 may be brought in any judicial

district in which the defendant or in the case of multiple defendants, any one defendant can be

found, resides, transacts business or in which any act proscribed by section 3729 occurred.”

Section 3732(a) also authorizes nationwide service of process. During the time period relevant

to this Complaint, each of the defendants resided and transacted business in the Western District

of New York, and most of the violations of 31 U.S.C. § 3729 described herein occurred within

this judicial district.

        17.      Venue is proper in this district pursuant to 31 U.S.C. § 3732(a) because each of

the defendants can be found in, reside in, and transact business in the Western District of New

York and many of the violations of 31 U.S.C. § 3729 described herein occurred within this

judicial district.

        18.      In accordance with 31 U.S.C. § 3730(b)(2), the initial complaint was filed in

camera and remained under seal for a period of at least 60 days and was not served on the

Defendants until the Court so orders.

        19.      Pursuant to 31 U.S.C. § 3730(b)(2), the Relator provided the Government with a

copy of the Complaint and/or a written disclosure of substantially all material evidence and

material information in their possession contemporaneous with the filing of the Complaint.

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Relator complied with this provision by serving copies of this Complaint upon the Honorable

William J. Hochul, Jr., United States Attorney for the Western District of New York, and upon

the Honorable Loretta Lynch, Attorney General of the United States.

                                      GENERAL ALLEGATIONS

I.     FEDERALLY FUNDED HEALTH INSURANCE PROGRAMS

                 Medicare

                 1)     Medicare Background

       20.       Medicare is a federally-funded health insurance program for the elderly and

persons with certain disabilities, providing both hospital insurance, Medicare Part A, which

covers the cost of inpatient hospital services and post-hospital nursing facility care, and medical

insurance, Medicare Part B, which covers the cost of the physician’s services such as services to

patients who are hospitalized, if the services are medically necessary and personally provided by

the physician.

       21.       Medicare payments come from the Medicare Trust Fund, which is funded

primarily by payroll deductions taken from the United States work force through mandatory

Social Security deductions.

       22.       Medicare is generally administered by the Centers for Medicare and Medicaid

Services (“CMS”), which is an agency of the Department of Health and Human Services. CMS

establishes rules for the day-to-day administration of Medicare. CMS contracts with private

companies to handle day-to-day administration of Medicare.

       23.       CMS, through contractors, maintains and distributes fee schedules for the

payment of physician services. These schedules specify the amounts payable for defined types

of medical services and procedures.

       24.       The Medicare Benefit Policy Manual defines skilled services as follows:

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       [s]killed nursing and/or skilled rehabilitation services are those services, furnished
       pursuant to physician orders, that:

               •      Require the skills of qualified technical or professional health personnel
                      such as registered nurses, licensed practical (vocational) nurses,
                      physical therapists, occupational therapists, and speech-language
                      pathologists or audiologists; and

               •      Must be provided directly by or under the general supervision of these
                      skilled nursing or skilled rehabilitation personnel to assure the safety of
                      the patient and to achieve the medically desired result.

Medicare Benefit Policy Manual § 30.2.1.

       25.     Subject to conditions, Medicare Part A covers up to 100 days of skilled nursing

and rehabilitation per benefit period. 42 U.S.C. § 1395(a)(2)(A); 42 C.F.R. § 409.61(b), (c);

Centers for Medicare & Medicaid Services, “Medicare Coverage of Skilled Nursing Facilities,”

§2: Medicare SNF Coverage, at 18.

       26.     For treatment in a skilled nursing or skilled rehabilitation facility to be covered by

Part A, all of the following conditions must be met:

       (1)     “The patient requires skilled nursing services or skilled rehabilitation
               services . . . ; are ordered by a physician and the services are rendered for a
               condition for which the patient received inpatient hospital services or for a
               condition that arose while receiving care in a [skilled nursing facility] for a
               condition for which he received inpatient hospital services”;

       (2)     The patient requires skilled services on a daily basis;

       (3)     The services required by the patient can only be provided by a skilled nursing
               facility; and

       (4)     The services are medically reasonable and necessary, “i.e., are consistent with the
               nature and severity of the individual’s illness or injury, the individual’s particular
               medical needs, and accepted standards of medical practice. These services must
               also be reasonable in terms of duration and quantity.”

Medicare Benefit Policy Manual Ch. 8, § 30; 42 U.S.C. § 1395(a)(2)(B); 42 C.F.R. § 409.31(b).




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          27.   In addition, Medicare Part A will only cover services which are medically

reasonable and necessary. See 42 U.S.C. § 1395y(a)(1)(A); see also 42 U.S.C. § 1320c-5(a)(1);

42 U.S.C. § 1320c-5(a)(2).

          28.   Medicare uses a pre-determined daily rate under its prospective payment system

(“PPS”) for skilled nursing and rehabilitation services provided to qualifying patients. See 63

Fed. Reg. 26,252, 26,259-60 (May 12, 1998).

          29.   On whether a nursing service is skilled, the Medicare Benefit Policy Manual

provides: “If the inherent complexity of a service prescribed for a patient is such that it can be

performed safely and/or effectively only by or under the general supervision of skilled nursing or

skilled rehabilitation personnel, the service is a skilled service; e.g., the administration of

intravenous feedings and intramuscular injections; the insertion of suprapubic catheters; and

ultrasound, shortwave, and microwave therapy treatments.” Medicare Benefit Policy Manual §

30.2.2.

          30.   The Medicare Benefit Policy Manual explains the difference between skilled and

non-skilled physical therapy as follows: “When services can be safely and effectively performed

by supportive personnel, such as aides or nursing personnel, without the supervision of a

physical therapist, they do not constitute skilled physical therapy. Additionally, services

involving activities for the general good and welfare of the patient (e.g., general exercises to

promote overall fitness and flexibility and activities to provide diversion or general motivation)

do not constitute skilled physical therapy.” Medicare Benefit Policy Manual § 30.4.1.

          31.   Medicare pays nursing facilities a pre-determined daily rate per its prospective

payment system (“PPS”), which depends, in part, on a patient’s Resource Utilization Group

(“RUG”). See 63 Fed. Reg. 26,252, 26,259-60 (May 12, 1998); see also 70 Fed. Reg. 45,026,



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45,031 (Aug. 4, 2005). There are five general RUG levels for rehabilitation therapy: Rehab

Ultra High, Rehab Very High, Rehab High, Rehab Medium, and Rehab Low.

                Medicaid

       32.      Medicaid is a state and federal assistance program to provide payment of medical

expenses for low-income patients. Medicaid was created in 1965 in Title XIX of the Social

Security Act.

       33.      Funding for Medicaid is shared between the federal government and state

programs that choose to participate in Medicaid.

       34.      At all relevant times to the Complaint, applicable Medicaid regulations relating to

coverage of claims by providers and physicians have been substantially similar in all material

respects to the applicable Medicare provisions described above.

                TRICARE

       35.      TRICARE is a federal program which provides civilian health benefits for

military personnel, military retirees, and their families. TRICARE is administered by the

Department of Defense and funded by the federal government.

       36.      At all relevant times to the Complaint, applicable TRICARE regulations relating

to coverage of claims by providers and physicians have been substantially similar in all material

respects to the applicable Medicare provisions described above.

       37.      Medicare, Medicaid, and TRICARE, and other similar federal programs are

referred to collectively herein as “federal health insurance programs.”

                                     SPECIFIC ALLEGATIONS

       38.      Relator Nolan is an experienced LPN who has worked in the skilled nursing and

long term care industry for over 20 years. Throughout that time, she worked at multiple

facilities, including facilities which required knowledge of applicable regulations.

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       39.     In April of 2013, Nolan began working as a nurse on the night shift at Lancaster

on a per diem basis. Approximately two weeks later, Nolan began working as a full-time LPN

on night shifts at Lancaster. Throughout the course of her employment at Lancaster, she

personally observed the following fraudulent practices:

               •   Patient admissions into rehabilitation programs. Defendants admit
                   patients who did not meet the criteria for rehabilitation programs and bill for
                   those services. In addition, Defendants’ doctors did not actually assess
                   patients’ conditions and individualized needs and prescribe an appropriate
                   level of treatment, as required by the government funded health care
                   programs, resulting, effectively, in the blind approval of patients for more
                   expensive care.

               •   Fraudulent manipulation of applicable requirements to “treat” patients
                   for whom services were not medically reasonable or necessary.
                   Defendants treated patients with rehabilitation services for whom those
                   services were not medically necessary or who could not meaningfully
                   participate in the rigorous treatment prescribed due to their debilitating
                   condition. Defendants also improperly shuffled patients between long term
                   care and rehabilitation programs in order to take advantage of higher
                   rehabilitation rates. Defendants also held patients for whom rehabilitation
                   was no longer medically necessary or reasonable to be able to bill at those
                   higher rates for as long as possible. In addition, Defendants would not
                   provide or would inadequately provide rehabilitation services for which they
                   billed. In many cases, Relator and other skilled nurses at Lancaster were
                   directed to fraudulently omit information from the patient records in order to
                   conceal the extent of Lancaster’s inflated rehabilitation services.

               •   Defendants’ fraudulently billing for skilled nursing services. Defendants
                   inflated what they billed Medicare, Medicaid, and TRICARE by billing for
                   skilled nursing services when those providing the services were unqualified
                   and/or unsupervised to provide the services or treatment.

       40.     During the course of her employment with Elderwood, Relator also became aware

that Elderwood had been conducting the same or similar fraudulent conduct at its other facilities.

For example, Relator learned that the senior staff at Hamburg also manipulated treatment levels

and shifted patients from one discipline to another (rehabilitation to long term care) depending

on reimbursement levels and availability for a given patient. The Hamburg facility also held



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patients for rehab or long-term care until their Medicare coverage expired, irrespective of the

patients’ condition or improvement.

        41.       As a result of these fraudulent practices, described in more detail below,

Defendants submitted false billings to the government funded health care programs in violation

of the FCA and NY FCA.

II.     FRAUDULENT PRACTICES WITH REGARD TO PATIENT ADMISSION IN
        REHABILITATION PROGRAMS

        42.       Defendants leveraged relationships with hospitals in order to funnel patients into

their programs without regard to whether those patients meet the applicable criteria for

rehabilitation.

        43.       Defendants had an unwritten policy: “fill the beds” and justify admission later.

Officially, the facility mandated that all patients were admitted to the hospital at “Total Assist of

Two,” the highest and most expensive level of treatment, irrespective of their condition, and

were required to see a physical therapist, not a doctor, within 24 hours of admission. The

physical therapist then determined the appropriate level of care for the patient, who had already

been admitted, scaling back the level of care from “Total Assist of Two” only if necessary.

Relator is not aware of any doctors employed by Defendant questioning a physical therapists’

diagnosis or prescription of treatment; rather, Lancaster physicians routinely rubber stamp

patients’ charts without properly evaluating those patients, as required.

        44.       By admitting patients without proper evaluations at the highest level of treatment,

Defendants violated regulations under Medicare as well as New York State law, and inflated

billings to federal and New York State funded health care programs in violation of the False

Claims Acts.




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               Admitting patients who do not meet the criteria for rehabilitation programs
               and billing for those services

         45.   PAPM owns and operates all Elderwood facilities, including the facility at

Lancaster, and employs internal personnel in charge of marketing for all of the facilities.

         46.   In this role, the marketing team is in charge of patient recruiting from other

hospitals and facilities throughout New York and oversees Elderwood’s patient recruiting effort.

         47.   Elderwood’s patient recruiting is premised on relationships with hospitals

throughout New York and is designed to funnel patients into Elderwood’s rehabilitation

programs, irrespective of whether those patients meet the applicable Medicare eligibility criteria

set forth in 42 U.S.C. § 1395(a)(2)(A) and 42 C.F.R. § 409.61(b), (c).

         48.   Elderwood facilities routinely and fraudulently admit patients into the

rehabilitation program who could not participate in or benefit from rehabilitation such as elderly

patients, patients suffering from dementia, and those who were too sick to meet the rigorous

daily rehabilitation requirements under Medicare and Medicaid. Many of these patients

nevertheless were prescribed rehabilitations treatments at the highest RUG levels in order to

falsely maximize billings to the Government.

         49.   For example, Elderwood Lancaster admitted Patient A into its rehabilitation

program even though she suffered from debilitating cancer with limited mobility and no chance

of physical improvement. Patient A could not swallow and weighed approximately seventy-five

pounds at six feet tall. She remained in rehab until she accrued the maximum covered 100 days

under Medicare, when she was immediately placed in hospice and died approximately two weeks

later.

         50.   Relator is personally aware that Elderwood admitted numerous patients to its

rehabilitation program despite being too frail from old age, or too weak due to illness. These


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patients could not and often did not regularly participate in any effective rehabilitation, yet

Elderwood admitted and billed for them anyway.

       51.      By admitting and billing the Government for the treatment of patients who did not

meet the applicable eligibility criteria, Defendants submitted and caused the Government to pay

false claims.

                Defendants caused doctors to rubber stamp placements in the higher billed
                rehabilitation instead of actually assessing patients, as required

       52.      A physician or other qualified practitioner must certify and re-certify that

Medicare eligibility criteria are satisfied. 42 U.S.C. § 1395(a)(2)(B); Medicare General

Information, Eligibility, and Entitlement Manual, Ch. 4, § 40.3.

       53.      Under New York State law, “[u]pon admission and periodically thereafter,” a

facility must conduct “comprehensive, accurate, standardized, reproducible” assessments of

patients’ functional capacity and use those assessments as the basis for individualized

comprehensive care plans tailored to each residents’ needs. Public Health Law § 2803(2),

section 415.11. The assessments must include, among other things, the patients’ discharge

potential and rehabilitation potential. Id.

       54.      Once a recruited patient was directed to an Elderwood facility, however, doctors

failed to perform the required evaluation to determine eligibility. Physicians commonly signed

certifications without evaluating the patients.

       55.      Instead, doctors sign-off on their admission for treatment without regard to the

patients’ condition.

       56.      Often, doctors signed-off on admissions without even meeting with or evaluating

the patient at all. Rather, as discussed above, physical therapists met with patients, evaluated

their condition, and prescribed a level of treatment, often the highest and most expensive level of


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treatment, for them during their stay at the facility. Doctors simply reviewed the patient charts,

in many cases, and signed off on the physical therapists’ prescription of care without conducting

a proper evaluation.

       57.     Relator Nolan personally observed that patients were admitted and treated who

were clearly ineligible for rehabilitation. Moreover, once admitted, the treatment plan was not

tailored or adjusted in accordance with patients’ condition or improvement as required by law.

Based on her experience, and independent assessments, doctors could not have evaluated many

of the admitted patients because those patients so clearly were not eligible for rehab due to their

deteriorating, and in some cases terminal, condition.

       58.     For example, Patient B was a patient in her 80’s with bilateral pneumonia who

was admitted into the rehabilitation program. She was so sick that just days after her admission

she was transferred back to the hospital. Patient B’s admission into the rehabilitation program

indicates either that no doctor evaluated her, or that a doctor evaluated her and placed her into

the rehabilitation program even though she was severely ill and could not participate in or benefit

from rehabilitation services. Patient B should not have been admitted to rehab, and Medicare

should not have paid for her treatment because she was not eligible.

       59.     In another example, Patient C had a broken ankle but was otherwise self-

sufficient and mobile with the use of a wheelchair. Patient C’s mobility even allowed him to

frequently to run off-site errands with weekend passes. Due to the cast on his foot, however,

Patient C could not effectively participate in rehabilitation. Notwithstanding, Defendants kept

Patient C in the rehabilitation program, billing the government for his rehabilitation treatment.




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        60.    Relator is personally aware of numerous other examples of patients admitted to

Elderwood that were improperly admitted and received medically unnecessary rehabilitation

services in violation of CMS guidelines.

        61.    Despite these improper admissions, Defendants continued to fraudulently bill for

the patients’ care, submitting false claims to the Government in violation of the False Claims

Acts.

III.    MANIPULATING REQUIREMENTS TO TREAT PATIENTS FOR WHOM
        SERVICES WERE NOT MEDICALLY REASONABLE OR NECESSARY

        62.    As stated above, Medicare Part A covers up to 100 days of skilled nursing and

rehabilitation per benefit period subject to certain conditions. 42 U.S.C. § 1395(a)(2)(A); 42

C.F.R. § 409.61(b), (c).

        63.    A condition of coverage is that care must be medically reasonable and necessary,

including with regard to duration and quantity of treatment. See Medicare Benefit Policy

Manual, Ch. 8, § 30. Generally, services or treatments are medically reasonable or necessary if

they “are consistent with the nature and severity of the individual’s illness or injury, the

individual’s particular medical needs, and accepted standards of medical practice,” and are

reasonable in duration and quantity. Medicare Benefit Policy Manual, Ch. 8, § 30.

        64.    Defendants routinely billed the government for care that was neither reasonable

nor medically necessary under CMS guidelines in violation of the false claims act.

               Improperly shuffling patients between long term care and rehabilitation
               programs in order to take advantage of higher rehabilitation billing rates

        65.    Defendants engaged in a scheme to maximize the number of days it billed

Medicare, Medicaid, and TRICARE for rehabilitation services, which is reimbursed at a higher

rate than long term care.



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        66.    On the date that funding is reissued, Defendants put patients back in the

rehabilitation program for an additional one hundred days, irrespective of their condition.

Relator personally observed this pattern at Lancaster, and is also aware that it occurred regularly

at Hamburg as well as other Elderwood facilities.

        67.    Medicare requires that a doctor or other qualified practitioner certify and re-

certify on a regular basis that a patient needs skilled rehabilitation services. See 42 U.S.C. s.

1395f(a)(2)(B); see also Medicare General Information, Eligibility, and Entitlement Manual, Ch.

4, § 40.3.

        68.    Once admitting a patient into skilled rehabilitation care, doctors employed by

Defendants failed to re-certify or fraudulently re-certified their need for ongoing care.

        69.    Instead, admitted patients were left in skilled rehabilitation for the maximum

amount of covered days without regard to their individualized needs. As soon as the particular

patient had finished his or her allotted coverage for rehabilitation, Defendants moved that patient

into long term care irrespective of the patient’s particular needs. Many patients still at the

facility at the time their rehabilitation coverage was reissued were immediately placed back into

the higher billed rehabilitation program.

       70.     For example, Patient D was a patient in her late 70’s who was placed in the

rehabilitation program until she reached the maximum coverage even though she did not require

those services. She was immediately placed in long term care as soon as she no longer had

rehabilitation coverage under Medicare. Patient D was walking with a walker during the time

she was in the rehabilitation program but rapidly declined within a matter of days to the point

that she required total assistance from two nurses to handle every menial task. Patient D’s

daughter spoke with Relator and requested that her mother be placed in the rehabilitation



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program to allow her mother to regain mobility and a level of independence. Relator sent a note

to Defendants relaying the request. Unknown to Patient D, Lancaster had needlessly and

recklessly used all of the allocated days for rehabilitation coverage, precluding her from

obtaining treatment when she actually needed it.

        71.     Defendants’ treatment decisions were governed by the availability of coverage for

more expensive treatment. The type of services provided, whether rehabilitation or skilled

nursing, were indicated by the color of patients’ charts. This practice was so pervasive that staff

would joke about the changing colors of charts depending on the time of year.

        72.     By keeping patients in skilled rehabilitation for the maximum amount of covered

days without regard to their individualized needs, Defendants caused the Government to pay for

services that were neither medically reasonable nor necessary through the submission of false

claims. Defendants also caused physical harm to patients by putting their own financial gain

above the individualized needs of patients.

                Improperly holding patients for whom rehabilitation was no longer
                medically necessary or reasonable and billing at higher, inaccurate rates for
                as long as possible

        73.     Defendants routinely required patients to remain in their rehabilitation program

for the maximum time permitted under federal regulations in order to bill at the higher

rehabilitation rate.

        74.     Defendants accomplished this by routinely billing for one hundred days of

rehabilitative care – the maximum amount permitted – irrespective of the patients’ actual

condition or diagnosis.

        75.     In addition, Defendants billed for services which a patient could not reasonably be

expected to participate in or benefit from, in light of their individual condition. For example, as

discussed above, Defendants billed for Patient A’s rehabilitation treatment even though once she

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reached the maximum amount of coverage, she was placed in hospice and died approximately

two weeks later.

       76.     Defendants also routinely billed for treatment that was well beyond that required

by the patient. Defendants had a practice of rarely, if ever, designating a patient as being

“independent” until the day they were discharged from the facility.

       77.     Relator estimates that approximately 90% of patients in the rehabilitation program

remained at a higher level of “supervision” when, in fact, they were functioning at

“independent,” necessitating a lower, and less expensive, level of care.

       78.     For example, Patient E was cleared for discharge and was fully mobile and

independent. However, Patient E remained in the rehabilitation program for an additional five

days, even though she was up and walking around the room and informed Relator that she did

not need any help. Elderwood kept Patient E longer than necessary in order to continue billing

the Government for her care.

       79.     Defendants maintained an internal system for charting and billing patients that

indicated the level of intensity and supervision for a particular patient’s care. Under this system,

Elderwood staff determined the level of care at admission based on the patient’s condition and

designated the patient on the following categories: (1) Independent; (2) Supervision; (3) Limited

Assist of One; (4) Limited Assist of Two; (5) Total Assist of One; and, (6) Total Assist of Two.

The more assistance required, the higher the billable rate – i.e. total assist of two meant that the

patient needed two nurses to assist with nearly every task that required the patient to get out of

bed.

       80.     Relator is personally aware that under this system, Defendants not only routinely

inflated that level of care required for patients, but regularly ignored patient improvement,



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keeping patients at their initial designation throughout the course of their stay. Defendants’

conduct resulted in numerous patients receiving well above the standard of care reasonable and

necessary to treat their condition.

       81.     In one example, Patient F was an overweight patient in her mid-forties who

needed the assistance of one person to assist with bed mobility. Notwithstanding, Defendants

designated Patient E at Total Assist of 2, needlessly requiring the complete assistance of two

people. The Total Assist of 2 designation allowed Elderwood to bill for her care at a higher rate.

Despite Relator reporting that the patient did not need to be at Total Assist of 2, Elderwood kept

her at that level of care in order to maximize its billing of the Government.

       82.     Similarly, Defendants’ internal policies discouraged or punished nurses from

indicating improving conditions on patients’ charts. For example, if Relator found a patient

walking around independently and reflected that on the chart as an improvement, Relator would

be disciplined or “written up” for a care plan violation. Instead, Defendants required staff to

treat those instances as patient behavioral issues who disregarded instructions. This allowed

Defendants to continue billing at higher rates. This conduct directly violates CMS regulations

governing rehabilitation reimbursements regarding improving conditions.

       83.     Relator repeatedly left notes on patients’ charts and in daily reports indicating that

a patient did not require the level of care indicated on the chart, but those notes were ignored.

       84.     By keeping patients in skilled rehabilitation for the maximum amount of covered

days without regard to their individualized needs and the appropriateness of a treatment plan,

Defendants caused the government to pay for services that were neither medically reasonable nor

necessary.




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               Failing to Provide or Inadequately Providing Rehabilitation Services

        85.    Often during the night shift, Relator spoke with patients about their conditions,

the status of their care, and the day-to-day activities they participated in. Through these

discussions, Relator became aware that patients were not receiving meaningful rehabilitation

services or, in some instances, they were not receiving rehabilitation services at all.

        86.    For example, Relator spoke with numerous patients being billed for rehabilitation

services who regularly told her that they had not participated in any rehabilitation activities on a

given day. Relator is aware of several patients who could not meaningfully participate in

rehabilitation due to their condition but they remained charted for and billed out as rehabilitation

patients.

        87.    Other patients informed Relator that they received sham rehabilitation as a result

of the wholly inadequate services Elderwood was capable of providing due to its substandard

rehabilitation facility and equipment. For example, numerous patients informed Relator that they

only completed ten minutes of rehabilitation therapy or that they merely walked up and down a

set of stairs for the duration of their treatment on a given day.

        88.    By providing inadequate physical therapy, Defendants caused harm to patients

and caused the government to pay for services which were either not medically reasonable or

necessary, or not in fact provided.

IV.     FRAUDULENT BILLING OF SKILLED NURSING SERVICES TO INFLATE
        MEDICARE, MEDICAID, AND TRICARE BILLINGS

        89.    A skilled service is one that is “so inherently complex that it can be safely and

effectively performed only by, or under the supervision of, professional or technical personnel.”

42 C.F.R. § 409.32(a); see 42 C.F.R. § 409.31(a).




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        90.     Under New York State law, facilities must have sufficient nursing staff and

related services “to attain or maintain the highest practicable physical, mental, and psychological

well-being of each resident, as determined by resident assessments and individual plans of care.

The facility shall assure that each resident receives treatments, medications, diets and other

health services in accordance with individual care plans.” Public Health Law, section 415.13.

        91.     Defendants routinely billed for skilled nursing services when, in fact, qualified

practitioners were not performing those services or supervising those performing the services or

treatment. Defendants did so in order to inflate what Defendants billed Medicare, Medicaid, and

TRICARE.

        92.     Further, Relator personally observed and was required to provide skilled nursing

care and treatments required of an RN to patients without any supervision by necessity, as no

appropriate professional was available.

        93.     Routinely, Defendants failed to staff the facilities with a practitioner qualified to

provide many skilled nursing services, particularly for night shifts. To the extent there was an

appropriate person on call, they were frequently located off site and often unavailable. However,

Defendants would bill for skilled nursing services when there was no person working who met

the qualifications necessary to bill for certain skilled care.

        94.     For example, one night during Relator’s shift, she disagreed with the Director of

Nursing because the Director of Nursing wanted to go home and asked Relator to take the keys

to – and accompanying responsibility for – the facility’s supply of narcotics for both skilled

nursing and rehabilitation patients. Relator explained that given the limited staff, she felt she

could not handle both responsibilities if there were an emergency. The Director of Nursing

disregarded Relator’s concerns and told her that nothing would happen and to take the keys and



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“step up to the plate.” That night, Patient G repeatedly asked for the evening RN and at some

point began “coding.” Relator called the RN on call, but they were on vacation and did not

respond, and called an ambulance to take her to a facility where she could receive appropriate

care. Given the severity of the emergent situation, Relator had to enlist help of aids, a nursing

student and a new graduate, because the facility was woefully understaffed with qualified

professionals that evening.

        95.    By improperly staffing its facilities and by permitting and/or requiring unqualified

professionals to provide skilled nursing services, Defendants caused harm to patients and

submitted inflated, false claims to the government as the treatment did not qualify for coverage

under CMS guidelines.

V.      RELATOR INTERNALLY REPORTS VIOLATIONS AND IS FIRED IN
        RETALIATION

        96.    Defendants concealed the fraudulent conduct described herein through false

patient charts and records manipulated by nursing staff at the direction of management.

        97.    Relator objected to this practice on several occasions during the course of her

employment and reported this practice both to her immediate supervisors at Lancaster and to

Elderwood’s corporate office.

        98.    In both cases, when Relator reported the concealment, she was instructed to

falsely manipulate patient charts by omitting information about her patient’s mobility,

independence, and the lack of need for intense rehabilitation services, she was confronted with

hostility.

        99.    Although not immediately apparent, Relator later came to understand that a

reason for the hostility and ultimately her termination was because of her unwillingness to




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participate in the billing scheme and her reporting of the improper conduct to Defendants’ upper

management.

       100.    In September 2013, Relator first expressed concern to Lancaster’s Director of

Nursing, Deb Wainwright, that patients were frustrated that they were, unusually, being woken

up in the middle of the night to take medication. Relator Nolan also reported her concerns that

patients were receiving higher and more intense levels of treatment than was appropriate given

their independence and mobility, as alleged herein. In addition to her own observations, Relator

also expressed patient frustration with the levels of treatment that were disproportionate to their

condition.

       101.    In both cases, Ms. Wainwright directed Relator to immediately stop recording

patients’ frustrations with care on their charts. Ms. Wainwright further directed Relator to not

record that patients are independent or freely walking around their rooms, because this

contradicted the high levels of daily treatment that these patients were receiving.

       102.    In retaliation, Ms. Wainwright subsequently reassigned Relator’s shift to a later

shift, apparently to prevent Ms. Nolan from treating patients during the day, where she could

observe and chart the patients’ mobility, which contrasted with the medically unnecessary

treatments they were being given.

       103.    Within just a few days of this initial meeting with Ms. Wainwright, Lancaster

staff began treating Relator with hostility.

       104.    On or about October 9, 2013, Relator was written up for failing to follow through

with an order purportedly from a doctor pertaining to a treatment to be administered to a patient.

Relator never received such order from her immediate supervisor. Relator’s immediate

supervisor contacted Ms. Wainwright and asked where the order came from because it was not



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communicated to Relator. Ms. Wainwright responded that “it doesn’t matter where the order

came from.” Ms. Wainwright failed to answer the reasonable inquiry from Relator, nevertheless,

the write-up was placed in Relator’s employment file. The “write-up” of Ms. Nolan was in

direct retaliation for her reporting of concerns concerning Elderwood’s improper inflation of

services to patients.

        105.    Lancaster’s frustration with Relator continued to grow as she continued to raise

concerns about its questionable practices. During Relator’s shift on or about December 13,

2013, she was ordered by Ms. Wainwright to manage the controlled substances on site and act as

a supervisor, a task meant to be performed by a Registered Nurse. Relator attempted to refuse to

comply with the order because she was not qualified to handle such responsibilities. Despite

Relator’s attempt to refuse to comply with the order, Ms. Wainwright forced her to manage her

normal responsibilities and those of a supervisor. Relator was berated by Ms. Wainwright for her

refusal to comply with the orders.

        106.    On or about February 7, 2014, Relator contacted the company’s corporate office

to share her experiences with Lancaster’s management, in particular, the retaliation for her

refusal to cooperate with the improper practices related to medically unnecessary services for

independent and/or mobile patients.

        107.    On or about February 9, 2014, Relator met with corporate representatives in

person and expressed how she felt targeted by upper management at Lancaster and feared she

would lose her job by attempting to perform her job ethically. She also reported that she believed

that the conduct at the Lancaster facility was unethical and potentially illegal, which included the

false reporting of patient information to conform with inflated treatment levels.




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       108.    On or about February 16, 2014, Relator was contacted by Administrator Denise

Bothwell. During this meeting, Ms. Bothwell asked Relator, “how dare you go to corporate.”

Relator responded by informing Ms. Bothwell that she endeavors to perform her job ethically to

maintain her license. Ms. Bothwell irately responded, “Don’t give me that license story, I’ve

heard that before.”

       109.    On or about April 8, 2014, Relator was informed by Wainwright and Bothwell

that she was suspended purportedly for an incident that occurred on or about April 4, 2014.

During the incident, Relator’s supervisor ordered Relator to wake a patient up at 4am to

administer a blood sugar test. The supervisor wanted Relator to take the test even though the

patient was not showing any signs or symptoms of hyperglycemia or hypoglycemia. The request

was completely unreasonable, had no medical or clinical basis, and on information and belief

was a contrived attempt to manufacture a pretext for punishing Relator. The suspension was

clearly in retaliation for her reporting Lancaster’s misconduct and Relator believes a pretext for

her ultimate termination.

       110.    During a phone call on or about April 11, 2014, Ms. Wainwright and Ms.

Bothwell threatened Relator, “One more wrong move and you’re out.” Relator Nolan understood

this threat to directly relate to her internal reporting and non-compliance with Elderwood’s

fraudulent business practices.

       111.    That same day Relator had a follow-up meeting with a representative from

corporate during which she once again confirmed the improper conduct described herein, among

other misconduct, that resulted in retaliation by her supervisors.

       112.    On or about April 12, 2014, Relator received a notice of warning for the events

that transpired on April 4, 2014. Once again, she understood this warning to be part of an



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ongoing effort to falsely record a pretextual basis for her ultimate termination in her employment

file.

        113.    On or about April 21, 2014, Relator contacted corporate in an email to explain

how the claims of insubordination from management at Lancaster felt retaliatory. Relator

expressed that she was still facing an uncomfortable work environment,

        114.    Relator met with corporate on or about April 23, 2014 and reiterated that

management continued to make Lancaster an uncomfortable work environment for Relator.

        115.    On or about April 25, 2014, Relator was terminated from her position at

Lancaster. While the basis for her termination was the “false reporting” of retaliation and

discrimination, based on her internal reports of unethical business practices, the orchestrated

termination was a direct result of her compliance complaints.

        116.    As a result of Defendants’ retaliatory conduct, Relator Nolan has suffered direct

harm.

                                        CLAIMS FOR RELIEF

                                        COUNT I
                               RETALIATION (31 U.S.C. § 3730(h)

        117.    Relator repeats and incorporates by reference the allegations above as if fully

contained herein

        118.    Relator engaged in protected activity when she reported that patients were

receiving higher and more intense levels of treatment that was appropriate given their

independence and mobility to Lancaster’s Director of Nursing, Deb Wainwright and when she

reported to a corporate representative that management at Lancaster were engaging in unethical

and potentially illegal activities.




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       119.    Defendants knew Relator reported the illegal activity since Relator reported the

activity to Lancaster’s Director of Nursing, Deb Wainwright and to the Company’s corporate

representatives.

       120.    Relator was retaliated against by Lancaster management for reporting illegal

activity when, among other things, Relator had her responsibilities and shift change, directly in

response to her complaints about the improper request to falsify medical records, was written up

on or about October 9, 2013 for purportedly failing to follow through on a doctor’s order even

though the order was never communicated to Relator, when Lancaster management created an

uncomfortable and hostile environment for Relator, when Relator was suspended on or about

April 8, 2014, when Relator received a notice of warning on or about April 12, 2014, and when

Relator was discharged from her position on or about April 25, 2015 in violation of 31 U.S.C. §

3730(h).

       121.    Relator seeks compensatory damages and other appropriate statutory relief

pursuant to this section.

                                           COUNT II

                            RETALIATION (N.Y. Fin. Law § 191)

       122.    Relator repeats and incorporates by reference the allegations above as if fully

contained herein.

       123.    Relator engaged in lawful activity through her efforts to stop Defendants from

continuing to partake in unlawful and unethical behavior when she reported that patients were

receiving higher and more intense levels of treatment that was appropriate given their

independence and mobility to Lancaster’s Director of Nursing, Deb Wainwright and

Elderwood’s corporate representatives.



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       124.    After reporting illegal activity and attempting to stop Defendant’s behavior,

Relator was retaliated against by Lancaster management when, among other things, Relator had

her responsibilities and shift change, directly in response to her complaints about the improper

request to falsify medical records, was written up on or about October 9, 2013 for purportedly

failing to follow through on a doctor’s order even though the order was never communicated to

Relator, when Lancaster management created an uncomfortable and hostile environment for

Relator, when Relator was suspended on or about April 8, 2014, when Relator received a notice

of warning on or about April 12, 2014, and when Relator was discharged from her position on or

about April 25, 2015 in violation of N.Y. State Fin. Law § 191.



                                    PRAYER FOR RELIEF

       WHEREFORE, for each of these claims, the Qui Tam Plaintiff requests the following

relief from each of the Defendants, jointly and severally,

       a.      Such relief as is appropriate under the provisions of 31 U.S.C. § 3730(h) of the

False Claims Act for retaliatory discharge, including: (1) two times the amount of back pay with

appropriate interest; (2) compensation for special damages sustained by Relator in an amount to

be determined at trial; (3) litigation costs and reasonable attorneys’ fees; (4) such punitive

damages as may be awarded under applicable law; and (5) reasonable attorneys’ fees and

litigation costs in connection with Relator’s Section (h) claim;

       b.      Such further relief as the Court deems just; and

       WHEREFORE, for each of these claims, the Qui Tam Plaintiff requests the following

relief from each of the Defendants, jointly and severally:




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       a.      Such relief as is appropriate under the provisions of New York State Financial

Law § 191, including: (1) payment of two times back pay, (2) plus interest and litigation costs

and (3) reasonable attorneys’ fees in connection with Relator’s Section 191 claim.

       b.      Relator and the Plaintiffs shall be awarded such other and further relief as the

Court may deem to be just and proper.

                                DEMAND FOR JURY TRIAL

       Relator hereby demands trial by jury.




 Dated: January 17, 2023                          Respectfully submitted,

                                                  SPIRO HARRISON & NELSON


                                                  By:
                                                        David B. Harrison
                                                        363 Bloomfield Avenue, Suite 2C
                                                        Montclair, New Jersey 07042
                                                        Tel.: (973) 232-0881
                                                        Fax: (973) 232-0887




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